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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

BRUNO BALASSIANO,

       Plaintiff,

v.                                         CASE NO.: 6:19-CV-2140-ORL-78EJK

FOGO DE CHAO CHURRASCARIA
(ORLANDO) LLC,
FOGO DE CHAO CHURRASCARIA
(JACKSONVILLE) LLC, and
FOGO DE CHAO CHURRASCARIA
(MIAMI) LLC,

      Defendants,
_________________________________/

             JOINT MOTION FOR APPROVAL OF SETTLEMENT
                AND SUPPORTING MEMORANDUM OF LAW

       Plaintiff, BRUNO BALASSIANO (“Balassiano”), and Defendants, FOGO

DE    CHAO      CHURRASCARIA          (ORLANDO)        LLC,   FOGO      DE    CHAO

CHURRASCARIA            (JACKSONVILLE)        LLC     and     FOGO     DE     CHAO

CHURRASCARIA (MIAMI) LLC (collectively, “Defendants”), by and through

their undersigned counsel, move for the entry of an order approving their Settlement

Agreement and Release attached as Exhibit “A” (the “Settlement Agreement”), and

for the entry of an order dismissing this case with prejudice. In support thereof, the

Parties state as follows:

       1.     On October 31, 2018, Balassiano filed a Class Action Complaint and

Demand for Jury Trial in the Circuit Court of the Ninth Judicial Circuit, in and for
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Orange County, Florida, asserting one count under the Florida Minimum Wage Act

(“FMWA”) on behalf of a putative class. Approximately a year later, Balassiano

filed an Unopposed Motion for Leave to File Amended Complaint seeking to amend

the Second Amended Complaint to assert an additional claim for minimum wages

allegedly due and owing under the Fair Labor Standards Act, 29 U.S.C. § 206 (the

“FLSA”). Based on the addition of the FLSA claim, Defendants removed this case

to federal court on November 18, 2019. [D.E. 1]. Defendants answered the Third

Amended Complaint on November 25, 2019 [D.E. 14], denying the allegations and

asserting numerous defenses and affirmative defenses, including, without limitation,

that Balassiano had no entitlement to the damages sought because he had been fully

paid in accordance with the requirements of the FLSA for all hours worked and/or

reported as worked. On January 7, 2021, this Court denied Plaintiff’s motion for

class and collective certification and dismissed all putative opt-in plaintiffs, leaving

only Balassiano as a plaintiff. [D.E. 53].

      2.     The Parties have exchanged voluminous discovery, consisting of

Interrogatories, Requests for Production, and Requests for Admissions.

      3.     After exchanging information and records regarding Balassiano’s

employment and Defendants’ operational and compensation policies, the parties

conducted a mediation on May 26, 2021. After a lengthy day of negotiations and in

order to avoid the uncertainties of further litigation and the attorneys’ fees associated

with this type of action, the Parties were able to reach a settlement to resolve all of

Balassiano’s claims in this matter. The terms of that settlement are set forth in the


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agreement attached hereto as Exhibit “A”, which requires approval of the Court.

Bonetti v. Embarq Management Co., 715 F.Supp.2d 1222, 1227 (M.D. Fla. Aug. 4,

2009); Lynn’s Food Stores, Inc. v. U.S., 679 F. 2d 1350 (11th Cir. 1982).

      4.       Throughout the entirety of the pre-suit, litigation, and mediation

process, both Parties were represented by competent counsel with experience in this

area of law.

      5.       Despite the legal issues at dispute in this case, the Parties have agreed to

a settlement amount for Balassiano’s underlying FLSA claims.                Balassiano has

agreed to the settlement amount because of the certainty of the outcome it provides

to him in comparison to the cost and risk of continued, protracted litigation which

otherwise would be required for the Parties to pursue their respective claims and

defenses, and for either Balassiano or Defendants to obtain a final judgment on the

merits, which would be exceedingly high.           Accordingly, the Parties agree their

Settlement Agreement and Release is a fair and reasonable settlement of a bona fide

dispute.

      6.       The Parties have agreed that the terms reflected in the Settlement

Agreement are a mutually satisfactory compromise to resolve the underlying disputes

and that the consideration for the agreement includes separate consideration to

resolve Plaintiff’s claim for attorneys’ fees and costs under the FLSA.

                              MEMORANDUM OF LAW

      A.       The Standard of Review

      Section 16(b) of the FLSA (29 U.S.C. § 216(c)) permits employees to settle



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and release FLSA claims against an employer if the parties present the trial court a

proposed settlement and the trial court enters an order approving the fairness of the

settlement. Lynn's Food, 679 F.2d at 1353; see also Schulte, Inc. v. Gangi, 328 U.S. 108,

66 S.Ct. 925, 928 n. 8, 90 Ld.Ed. 1114 (1946).              Before approving an FLSA

settlement, the Court must scrutinize it to determine if it is “a fair and reasonable

resolution of a bona fide dispute.” Lynn’s Food, 679 F.2d at 1354-55. If the settlement

reflects a reasonable compromise over issues that are actually in dispute, the Court

may approve the settlement “in order to promote the policy of encouraging

settlement of litigation.” Lynn’s Food, 679 F.2d at 1354.

      B.     All Relevant Factors Support Approving the Proposed Settlement

      In determining whether the settlement is fair and reasonable, the Court

considers the following factors:

             (1)    The existence of fraud or collusion behind the settlement;
             (2)    The complexity, expense, and likely duration of the
                    litigation;
             (3)    The stage of the proceedings and the amount of discovery
                    completed;
             (4)    The probability of plaintiff's success on the merits;
             (5)    The range of possible recovery; and
             (6)    The opinions of the counsel.

See Leverso v. South Trust Bank of Ala., Nat. Assoc., 18 F.3d 1527. 1531 n.6 (11th Cir.

1994); Hamilton v. Frito-Lay, Inc., No. 6:05-cv-592-Orl-22JGG, 2007 U.S. Dist.

LEXIS 10287, at *2-3 (M.D. Fla. Jan. 8, 2007); see also Hill v. Florida Industrial Elec.,

Inc., No. 6:06-cv-915-Orl-31JGG, 2007 U.S. Dist. LEXIS 9498, at *6 (M.D. Fla. Feb.

9, 2007); Pacheco v. JHM Enterprises, Inc., et al., No. 6:05-cv-1247-Orl-JGG, at *4



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(M.D. Fla. Apr. 12, 2006).

      In reviewing such factors, there is a strong presumption in favor of finding a

settlement fair. Hamilton, 2007 U.S. Dist. LEXIS at * 2-3; see also Cotton v. Hinton. 559

F.2d 1326, 1331 (5th Cir. 1977). All such factors support approving the parties’

FLSA Settlement in this case.

             1.     There Is No Fraud in this Case

      Courts have found no fraud or collusion where both parties were represented

by counsel and the amount to be paid to the plaintiff seems fair. See Helms v. Central

Fla. Reg. Hosp., No. 6:05-cv-383-Orl-22JGG, 2006 U.S. Dist. LEXIS 92994, at *11-12

(M.D. Fla. Dec. 21, 2006).       Here, each party is independently represented by

counsel. Balassiano is represented by Carlos V. Leach of The Leach Firm, P.A. and

Noah E. Storch and Richard B. Celler of Richard Celler Legal P.A., and Defendants

are represented by Mary Ruth Houston and Paul J. Scheck of Shutts & Bowen, LLP.

All counsel involved have extensive experience in litigating FLSA claims.

             2.     The Complexity, Expense, and Length of Litigation
                    Support Early Resolution

      The complexity, expense, and length of litigation heavily weigh in favor of

settlement in this case. The cost of further, protracted litigation, which would be

required for the Parties to pursue their claims and defenses and obtain a final

judgment on the merits, would be exceedingly high, and likely would exceed

Balassiano’s alleged damages in this action.          The Parties’ FLSA Settlement

minimizes such costs, preserving the Parties’ and the Court’s time and resources.




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             3.     The Parties Have Sufficiently Investigated this Case Prior
                    to Engaging in Settlement Discussions

      There has been sufficient investigation, discovery, and exchange of

information over the course of this litigation to allow the Parties to undertake a fair

and reasonable settlement. The Parties have exchanged documents. The information

exchanged included, without limitation, information regarding Balassiano’s job

duties, time records, work hours, and compensation.

             4.     Probability of Success on the Merits Is in Dispute

      The Parties vigorously dispute the merits of Balassiano’s claims – making

litigation through summary judgment and a potential trial or appeals inevitable if the

Parties’ FLSA Settlement is not approved. In particular, Balassiano has contended

that he was not paid a minimum wage rate based on the tip credit system used by the

Defendants in their restaurants.     Defendants dispute the Plaintiff’s claims and

contend that their tip credit system complies with the requirements of federal and

state law. Based on the foregoing, Balassiano’s probability of success on the merits

and the uncertainty of what amount might be awarded, further supports the Parties’

compromise and shows that the Settlement Agreement is fair and appropriate.

             5.     The Range of Possible Recovery Supports Approving
                    Settlement

      The Parties’ Settlement Agreement includes a payment by Defendant to

Plaintiff in the amount of $8,500.00 for alleged wages due plus an additional

payment to Plaintiff in the amount of $8,500.00 for liquidated damages. Plaintiff

estimated his maximum recovery to be $13,279.88 ($26,559.76 including liquidated



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damages). See Plaintiff’s Answers to Court Interrogatories. [D.E. 26]. The Parties

separately negotiated and agreed to settle Plaintiff’s claims for attorney’s fees and

costs in the amount of $32,000.00, without regard to the amount to be paid to

Plaintiff.

             6.       Counsel for Both Parties Agree the Proposed Settlement
                      Represents a Fair Resolution

       Given the facts and circumstances of this case, counsel for both Parties concur

that the Parties’ Settlement Agreement is a fair and reasonable compromise of

Balassiano’s claim.

       C.    The Attorneys’ Fees and Costs Are Fair

       The last element the Court should evaluate in determining fairness of a

settlement of a FLSA claim is the reasonableness of the attorneys’ fees and costs. See

Helms, at *6-7; Strong v. BellSouth Telecomms., Inc., 137 F.3d 844, 849-50 (5th Cir.

1998). Provided “the plaintiff’s attorneys’ fee is agreed upon separately and without

regard to the amount paid to the plaintiff, then, unless the settlement does not appear

reasonable on its face or there is reason to believe that the plaintiff’s recovery was

adversely affected by the amount of the fees paid to his attorney, the Court [should]

approve the settlement without separately considering the reasonableness of the fee

to be paid to plaintiff’s counsel.” Bonetti, 715 F.Supp.2d at 1227.

       In the instant case, the attorneys’ fees and costs to be paid by Defendants as

part of the resolution of Balassiano’s FLSA claims were agreed upon by the Parties

separately and without regard to the amounts for wages and liquidated damages




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which Defendants are paying to Balassiano under the Parties’ Settlement Agreement.

In addition, this matter has been litigated between the parties since November 2018,

in both state and federal court, and involved the filing of a Motion to Conditional

Class Certification. Accordingly, because the settlement is reasonable on its face and

Balassiano’s recovery is not adversely affected by the amount of the attorneys’ fees

and costs to be paid to his attorney, the Court should approve the Parties’ Settlement

Agreement.

                              II.   CONCLUSION

      WHEREFORE, Plaintiff, BRUNO BALASSIANO, and Defendants, FOGO

DE   CHAO      CHURRASCARIA           (ORLANDO)         LLC,   FOGO     DE    CHAO

CHURRASCARIA           (JACKSONVILLE)           LLC    and     FOGO     DE    CHAO

CHURRASCARIA (MIAMI) LLC, respectfully request that this Court approve the

Parties’ Settlement Agreement and Release, and dismiss the claim with prejudice.


      Dated: June 10, 2021


Respectfully submitted,                       Respectfully submitted,

/s/ Carlos V. Leach_____________              /s/ Mary Ruth Houston_______________
Carlos V. Leach, Esq.                         Mary Ruth Houston, Esq.
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                                                 Attorneys for Defendants


                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 10th day of June, 2021, the foregoing was

filed with the Clerk of the Court by using the CM/ECF system which will send a

notice of electronic filing to all counsel of record.



                                                  /s/ Mary Ruth Houston
                                                  Mary Ruth Houston, Esq.


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